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7
                               UNITED STATES DISTRICT COURT
8
                              CENTRAL DISTRICT OF CALIFORNIA
9

10
     MICHELLE STROUT,                               Case No.
11

12                              Plaintiff,           NOTICE OF REMOVAL
     v.
13

14
     CREDIT CORP SOLUTIONS, INC.,
15

16
                               Defendant.
17

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19

20
                              DEFENDANT’S NOTICE OF REMOVAL

21                  Defendant CREDIT CORP SOLUTIONS, INC. hereby files this notice of
22
     removal under 28 U.S.C. §1446(a).
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24   A.             INTRODUCTION
25
                    1.   The parties to this action are Plaintiff, MICHELLE STROUT
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27
     (“Plaintiff”) and Defendant CREDIT CORP SOLUTIONS, INC. (“Defendant”).

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                                             NOTICE OF REMOVAL
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                    2.   Upon information and belief, Plaintiff initially filed this case on

2    September 8, 2015, in the Superior Court of California, County of Los Angeles,
3
     Case No. 15K11124.             A true and correct copy of Plaintiff’s Summons and
4

5    Complaint is attached hereto as Exhibit “A.”
6
                    3.   On October 7, 2015, Defendant was personally served with the
7

8    Summons and a copy of Plaintiff’s Complaint, (a true and correct copy of which
9
     are collectively attached hereto as Exhibit “A”).
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                    4.   As Defendant received Plaintiff’s Complaint on October 7, 2015,
11

12   Defendant files this notice of removal within the 30-day time period required by 28
13
     U.S.C. §1446(b).
14

15   B.             BASIS FOR REMOVAL
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                    5.   Removal is proper because Plaintiff’s Complaint involves a federal
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18
     question. 28 U.S.C. §§1331, 1441(b); Long v. Bando Mfg. of Am., Inc., 201 F.3d

19   754, 757-58 (6th Cir. 2000); Peters v. Union Pac. R.R., 80 F.3d 257, 260 (8th Cir.
20
     1996). Specifically, Plaintiff has alleged claims that arise under 15 U.S.C. § 1692,
21

22   et seq. for alleged violations of the Fair Debt Collection Practices Ac.          It is
23
     therefore an action of which this Court has original jurisdiction under 28 U.S.C. §
24

25   1331, and may be removed to this Court by Defendant pursuant to the provisions
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     of 28 U.S.C. § 1441(a).            This Court also has supplemental jurisdiction over
27
     Plaintiff's state claims pursuant to 28 U.S.C. § 1367.
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                                             NOTICE OF REMOVAL
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                    6.   Venue is proper in this district under 28 U.S.C. §1441(a) because this

2    district and division embrace the place where the removed action has been
3
     pending.
4

5                   7.   Defendant will promptly file a copy of this notice of removal with the
6
     clerk of the state court where the action has been pending.
7

8    C.             JURY DEMAND
9
                    8.   Plaintiff demands a jury in the state court action. Defendant also
10
     demands a jury trial.
11

12   D.             CONCLUSION
13
                    9.   Defendant respectfully requests removal of this action as it involves a
14

15   Federal question under the Fair Debt Collection Practices Act, 15 U.S.C. §1692.
16

17
                                                      CARLSON & MESSER LLP
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19   Dated: November 5, 2015                             By: s/David J. Kaminski
                                                         David J. Kaminski
20
                                                         Stephen A. Watkins
21                                                       Attorneys for Defendant,
                                                         CREDIT CORP SOLUTIONS, INC.
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                                               NOTICE OF REMOVAL
